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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA                  :         Case No: 21-cr-081 (DLF)
                                           :
         v.                                :
                                           :
 KEVIN DANIEL LOFTUS,                      :         18 U.S.C. § 5104(e)(2)(G)
                                           :
         Defendant.                        :


                       GOVERNMENT’S SENTENCING MEMORANDUM

        The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this sentencing memorandum in connection with

the above-captioned matter. For the reasons set forth herein, the government requests that this

Court sentence Kevin Daniel Loftus (“Loftus”) to thirty (30) days’ incarceration, three (3) years’

probation, and sixty (60) hours of community service, and order him to pay restitution in the

amount of $500, as he agreed to do in the guilty plea agreement.

   I.         Introduction

        The defendant, Kevin Daniel Loftus (“Loftus”), participated in the January 6, 2021, attack

on the United States Capitol—a violent attack that forced an interruption of the certification of the

2020 Electoral College vote count, threatened the peaceful transfer of power after the 2020

Presidential election, injured more than one hundred police officers, and resulted in more than one

million dollars of property damage.

        Loftus pleaded guilty to one count of 40 U.S.C. § 5104(e)(2)(G): Parading, Demonstrating,

or Picketing in the Capitol Building. As explained herein, a sentence of thirty (30) days’

incarceration is appropriate in this case because: (1) Loftus came to Washington, D.C., from


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Wisconsin on or about January 4 to attend the “Stop he Steal” rally; (2) on January 6, Loftus

attended the “Stop the Steal” rally and then marched to the U.S. Capitol; (3) after arriving at the

U.S. Capitol, Loftus illegally and without permission walked inside the U.S. Capitol where he took

several photos of himself and others inside the U.S. Capitol; (4) on January 7, Loftus wrote on his

Facebook account that he was wanted by the FBI, and he identified himself as one of the

individuals pictured in an FBI release of suspects wanted in the investigation; (5) also on that date,

Loftus wrote on his Facebook account, “One of 700” referencing individuals inside the U.S.

Capitol. Loftus also wrote, “That is right folks some of us are in it to win it;” and (6) on January

9, 2021, during an interview of Loftus conducted by the FBI in Eau Claire, Wisconsin, he admitted

to walking inside the U.S. Capitol on January 6, 2021. Loftus also admitted to walking on what he

thought was the top floor of the U.S. Capitol where he took several photos. Finally, Loftus was an

active-duty soldier in the United States Army for six years, and his participation in the January 6

attack on the Capitol was at odds with his prior commitment to protect and defend the United

States and the Constitution.

       Even if he did not personally engage in violence or property destruction during the riot,

before entering the Capitol on January 6, Loftus celebrated the violence of that day. Loftus posted

videos to his Facebook account of the attack on the U.S. Capitol and exclaimed that he and others

were “in it to win it,” presumably referring to the efforts of many of the January 6 rioters, including

himself, to disrupt the Congressional certification of the 2020 Electoral College vote.

       The Court must also consider that Loftus’ conduct on January 6, like the conduct of scores

of other defendants, took place in the context of a large and violent riot that relied on numbers to

overwhelm police, breach the Capitol, and disrupt the proceedings. But for his actions alongside

so many others, the riot likely would have failed to delay the certification vote. See United States



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v. Matthew Mazzocco, 1:21-cr-00054 (TSC), Tr. 10/4/2021 at 25 (“A mob isn’t a mob without the

numbers. The people who were committing those violent acts did so because they had the safety

of numbers.”) (statement of Judge Chutkan). Here, Loftus’ participation in a riot that actually

succeeded in halting the Congressional certification of the Electoral College vote, his celebration

and endorsement of the violence on that day, and his lack of remorse renders a sentence of thirty

(30) days’ incarceration, three (3) years’ probation, and sixty (60) hours of community service

appropriate.

   II.      Factual and Procedural Background

                             The January 6, 2021 Attack on the Capitol

         To avoid exposition, the government refers to the general summary of the attack on the

U.S. Capitol. See ECF# 22 (Statement of Offense), at 1-3. As this Court knows, a riot cannot occur

without rioters, and each rioter’s actions – from the most mundane to the most violent –

contributed, directly and indirectly, to the violence and destruction of that day. With that backdrop

we turn to the defendant’s conduct and behavior on January 6.

               Kevin Daniel Loftus’ Role in the January 6, 2021 Attack on the Capitol

         Loftus came to Washington, D.C., from Wisconsin on or about January 4 to attend the

“Stop the Steal” rally. On January 6, Loftus attended the “Stop the Steal” rally and then marched

to the U.S. Capitol. Subsequently, after arriving at the U.S. Capitol, Loftus illegally and without

permission walked inside the U.S. Capitol. As outlined in the following series of photographs,

Loftus (circled in red below) can be seen unlawfully entering the U.S. Capitol and exiting after

spending approximately four minutes and 50 seconds inside.




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Approx. Time: 2:45 pm
Upper West Terrace Door




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Approx. Time: 2:45:26 pm




Approx. Time: 2:46:37 PM




                                      5
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Approx. Time: 2:47:23 PM




                                      6
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Approx. Time: 2:49: 40 PM




Approx. Time: 2:49:50 PM




       In addition, Loftus took several photos of himself and others inside the U.S. Capitol. On

or about January 7, Loftus bragged on his Facebook account that he was wanted by the FBI, and

he identified himself as one of the individuals pictured in an FBI release of suspects wanted in the


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investigation. In addition, on or about January 7, Loftus wrote on his Facebook account, “One of

700” referencing individuals inside the U.S. Capitol. Loftus also wrote, “That is right folks some

of us are in it to win it,” see below.




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       Loftus’ FBI Interview.

       On or about January 8, 2021, during an interview of Loftus conducted by the FBI in Eau

Claire, Wisconsin, Loftus admitted, inter alia, that he climbed up on a scaffolding at the U.S.

Capitol for a good view and to take pictures and he walked inside the U.S. Capitol on what he

thought was the top floor of the U.S. Capitol where Loftus took several photos and he later posted

items on social media. Loftus also stated that he did not touch or hurt anyone.

                                The Charges and Plea Agreement

       On January 11, 2021, Kevin Daniel Loftus was charged by complaint with violating 18

U.S.C. §§ 1752(a)(1) and (2) and 40 U.S.C. §§ 5104(e)(2)(A) and (G). On January 12, 2021, he

was arrested at his home in Wisconsin. On February 4, 2021, Loftus was charged by four-count

Information with violating 18 U.S.C. §§ 1752(a)(1) and (2) and 40 U.S.C. §§ 5104(e)(2)(D) and

(G). On October 19, 2021, Loftus pleaded guilty to Count Four of the Information, charging him

with a violation of 40 U.S.C. § 5104(e)(2)(D), Disorderly Conduct in the Capitol Building. By plea

agreement, Loftus agreed to pay $500 in restitution to the Department of the Treasury.




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   III.      Statutory Penalties

          Loftus now faces a sentencing on a single count of 40 U.S.C. § 5104(e)(2)(D). As noted

by the plea agreement and the U.S. Probation Office, Loftus faces up to six months of

imprisonment and a fine of up to $5,000. Loftus must also pay restitution under the terms of his

plea agreement. See 18 U.S.C. § 3663(a)(3); United States v. Anderson, 545 F.3d 1072, 1078-79

(D.C. Cir. 2008). As this offense is a Class B Misdemeanor, the Sentencing Guidelines do not

apply to it. 18 U.S.C. § 3559; U.S.S.G. §1B1.9.

   IV.       Sentencing Factors Under 18 U.S.C. § 3553(a)

          In this misdemeanor case, sentencing is guided by 18 U.S.C. § 3553(a), which identifies

the factors a court must consider in formulating the sentence. Some of those factors include: the

nature and circumstances of the offense, § 3553(a)(1); the history and characteristics of the

defendant, id.; the need for the sentence to reflect the seriousness of the offense and promote

respect for the law, § 3553(a)(2)(A); the need for the sentence to afford adequate deterrence,

§ 3553(a)(2)(B); and the need to avoid unwarranted sentence disparities among defendants with

similar records who have been found guilty of similar conduct. § 3553(a)(6). In this case, as

described below, the Section 3553(a) factors weigh in favor of thirty (30) days’ incarceration, three

(3) years’ probation, and sixty (60) hours of community service.

             A. The Nature and Circumstances of the Offense

          The attack on the U.S. Capitol, on January 6, 2021, is a criminal offense unparalleled in

American history. It represented a grave threat to our democratic norms. It was the one of the only

times in our history when the building was literally occupied by hostile participants. The attack

defies comparison to other events.




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       While each defendant should be sentenced based on their individual conduct, this Court

should note that each person who entered the Capitol on January 6 without authorization did so

under the most extreme of circumstances. As they entered the Capitol, they would—at a

minimum—have crossed through numerous barriers and barricades and heard the throes of a mob.

Depending on the timing and location of their approach, they also may have observed extensive

fighting with police officers and smelled chemical irritants in the air. No rioter was a mere tourist

that day.

       Additionally, while looking at Loftus’s individual conduct, the Court must assess such

conduct on a spectrum. This Court, in determining a fair and just sentence on this spectrum, should

look to a number of critical factors, to include: (1) whether, when, how the defendant entered the

Capitol building; (2) whether the defendant encouraged violence; (3) whether the defendant

encouraged property destruction; (4) the defendant’s reaction to acts of violence or destruction;

(5) whether during or after the riot, the defendant destroyed evidence; (6) the length of the

defendant’s time inside of the building, and exactly where the defendant traveled; (7) the

defendant’s statements in person or on social media; (8) whether the defendant cooperated with,

or ignored commands from police officers; and (9) whether the defendant demonstrated sincere

remorse or contrition. While these factors are not exhaustive nor dispositive, they help to place

each defendant on a spectrum as to his fair and just punishment.

       To be clear, had Loftus personally engaged in violence or destruction, he would be facing

additional charges and/or penalties associated with that conduct. The absence of violent or

destructive acts on the part of Loftus is therefore not a mitigating factor in misdemeanor cases, nor

does it meaningfully distinguish Loftus from most other misdemeanor defendants. Loftus’s lack




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of violence and property destruction explains why he was charged only with, and permitted to

plead guilty to, a misdemeanor rather than felony.

        More broadly, Loftus’ statements on social media during and after the attack demonstrate

a total lack of remorse for his criminal conduct on January 6. Loftus bragged that he was wanted

by the FBI, and he identified himself as one of the individuals pictured in an FBI release of suspects

wanted in the investigation. Loftus also wrote that he was “One of 700” individuals unlawfully

inside the U.S. Capitol, and that, like the others, he was “in it to win it.”

        Accordingly, the nature and the circumstances of this offense establish the clear need for a

sentence of thirty (30) days’ incarceration, three (3) years’ probation, and sixty (60) hours of

community service.

    Defendant’s Conduct While on This Court’s Release Status

        One of the most important factors in distinguishing a possible sentence of home detention

and that of incarceration is Loftus’s conduct while on release in this very case. As set forth below,

on or about August 13, 2021, Loftus - under the alias “Zoso,” sent individuals (whose screen names

and posts are redated herein) a series of messages on a social media game application site. In those

messages, Loftus boasted that he “already” possessed various firearms, and so was not worried

that he would be prevented from buying any more as a condition of his sentence. 1 In addition,

Loftus made several statements regarding this case and celebrated that he now was “famous” and

a “hero” for his illegal actions on January 6, 2021. Loftus also stated that he gained that fame by

“standing up for all Americans” because he “broke the law,” and he would file lawsuits against

unidentified persons after the criminal case was over. See below:



1
  After these posting by the defendant, law enforcement officers searched the defendant’s apartment where no weapons
were found, and the defendant stated he had turned over the weapons to a family member as previously instructed and
the photos of him possessing the firearms were old photos.

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            B. Loftus’ History and Characteristics

        Loftus has a disturbing 25-year history of failing to obey the law. Loftus has four

convictions for DUI, one for reckless driving, and another conviction for theft, spread out over

fifteen years. PSR ¶ ¶ 25-30.

        Loftus served six years in the United States Army. As Judge Nichols observed, this is a

double-edged sword. On one hand, Loftus is to be commended for his military service to this

country, particularly since he served two tours of duty overseas. On the other hand, his

participation in a violent attack on the U.S. Capitol and his belief that his conduct on January 6

was an act of patriotism that made him a “local hero” is the antithesis of patriotism and heroism

that characterizes the vast majority of this country’s military veterans.

            C. The Need for the Sentence Imposed to Reflect the Seriousness of the Offense
               and Promote Respect for the Law

        The attack on the U.S. Capitol building and grounds was an attack on the rule of law. “The

violence and destruction of property at the U.S. Capitol on January 6 showed a blatant and

appalling disregard for our institutions of government and the orderly administration of the

democratic process.” 2 As with the nature and circumstances of the offense, this factor supports a

sentence of incarceration, as it will in most cases, including misdemeanor cases, arising out of the

January 6 riot. See United States v. Joshua Bustle and Jessica Bustle, 21-cr-238-TFH, Tr. 08/24/21

at 3 (“As to probation, I don't think anyone should start off in these cases with any presumption of

probation. I think the presumption should be that these offenses were an attack on our democracy

and that jail time is usually -- should be expected”) (statement of Judge Hogan).

            D. The Need for the Sentence to Afford Adequate Deterrence

2
 Federal Bureau of Investigation Director Christopher Wray, Statement before the House
Oversight         and       Reform         Committee         (June       15,      2021),   available   at
https://oversight.house.gov/sites/democrats.oversight.house.gov/files/Wray%20
Testimony.pdf

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         Deterrence encompasses two goals: general deterrence, or the need to deter crime

generally, and specific deterrence, or the need to protect the public from further crimes by this

defendant. 18 U.S.C. § 3553(a)(2)(B-C), United States v. Russell, 600 F.3d 631, 637 (D.C. Cir.

2010).

         General Deterrence

         The demands of general deterrence weigh in favor of incarceration, as they will for nearly

every case arising out of the violent riot at the Capitol. Indeed, general deterrence may be the most

compelling reason to impose a sentence of incarceration. The violence at the Capitol on January 6

was intended to interfere, and did interfere, with one of the most important democratic processes

we have: the peaceful transfer of power to a newly elected President. As noted by Judge Moss

during sentencing, in United States v. Paul Hodgkins, 21-cr-188-RDM:

         [D]emocracy requires the cooperation of the governed. When a mob is prepared to
         attack the Capitol to prevent our elected officials from both parties from performing
         their constitutional and statutory duty, democracy is in trouble. The damage that
         [the defendant] and others caused that day goes way beyond the several-hour delay
         in the certification. It is a damage that will persist in this country for decades.

Tr. at 69-70. Indeed, the attack on the Capitol means “that it will be harder today than it was seven

months ago for the United States and our diplomats to convince other nations to pursue democracy.

It means that it will be harder for all of us to convince our children and our grandchildren that

democracy stands as the immutable foundation of this nation.” Id. at 70.

         The gravity of these offenses demands deterrence. This was not a protest. See United States

v. Paul Hodgkins, 21-cr-188-RDM, Tr. at 46 (“I don’t think that any plausible argument can be

made defending what happened in the Capitol on January 6th as the exercise of First Amendment

rights.”) (statement of Judge Moss). And it is important to convey to future potential rioters—




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especially those who intend to improperly influence the democratic process—that their actions

will have consequences. There is possibly no greater factor that this Court must consider.

        The Need to Avoid Unwarranted Sentencing Disparities

        As the Court is aware, the government has charged over 700 individuals for their roles in

this one-of-a-kind assault on the Capitol, ranging from unlawful entry misdemeanors, such as in

this case, to assault on police officers, to conspiracy to corruptly interfere with Congress.3 Each

offender must be sentenced based on their individual circumstances, but with the backdrop of the

January 6 riot in mind. Moreover, each offender’s case will exist on a spectrum that ranges from

conduct meriting a probationary sentence to crimes necessitating years of imprisonment. The

misdemeanor defendants will generally fall on the lower end of that spectrum, but misdemeanor

breaches of the Capitol on January 6, 2021, were not minor crimes. A probationary sentence should

not become the default. 4 See United States v. Anna Morgan-Lloyd, 1:21-cr-00164 (RCL), Tr.

6/23/2021 at 19 (statement of Judge Lamberth at sentencing).

        The government and the sentencing courts have already begun to make meaningful

distinctions between offenders. Those who engaged in felonious conduct are generally more

dangerous, and thus, treated more severely in terms of their conduct and subsequent punishment.



3
 Attached to this sentencing memorandum is a table providing additional information about the sentences imposed
on other Capitol breach defendants. That table also shows that the requested sentence here would not result in
unwarranted sentencing disparities.
4
  Early in this investigation, the Government made a very limited number of plea offers in misdemeanor cases that
included an agreement to recommend probation in United States v. Anna Morgan-Lloyd, 1:21-cr-00164(RCL); United
States v. Valerie Elaine Ehrke, 1:21-cr-00097(PFF); United States v. Donna Sue Bissey, 1:21-cr-00165(TSC), United
States v. Douglas K. Wangler, 1:21-cr-00365(DLF), and United States v. Bruce J. Harrison, 1:21-cr-00365(DLF).
The government is abiding by its agreements in those cases, but has made no such agreement in this case. Cf. United
States v. Rosales-Gonzales, 801 F.3d 1177, 1183 (9th Cir. 2015) (no unwarranted sentencing disparities under 18
U.S.C. § 3553(a)(6) between defendants who plead guilty under a “fast-track” program and those who do not given
the “benefits gained by the government when defendants plead guilty early in criminal proceedings”) (citation
omitted).



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Those who trespassed, but engaged in aggravating factors, merit serious consideration of

institutional incarceration. Those who trespassed, but engaged in less serious aggravating factors,

deserve a sentence more in line with minor incarceration or home detention.

       For one thing, although all the other defendants discussed below participated in the Capitol

breach on January 6, 2021, many salient differences—such as how a defendant entered the Capitol,

how long he remained inside, the nature of any statements he made (on social media or otherwise),

whether he destroyed evidence of his participation in the breach, etc.—help explain the differing

recommendations and sentences. And as that discussion illustrates, avoiding unwarranted

disparities requires the courts to consider not only a defendant’s “records” and “conduct” but other

relevant sentencing criteria, such as a defendant’s expression of remorse or cooperation with law

enforcement.    See United States v. Hemphill, 514 F.3d 1350, 1365 (D.C. Cir. 2008) (no

unwarranted disparity regarding lower sentence of codefendant who, unlike defendant, pleaded

guilty and cooperated with the government).

       Gracyn Courtright is a Capitol Breach defendant who, like Loftus, expressed her hope that

she would become famous for her unlawful conduct. She wrote on her social media account,

“Infamy is just as good as fame. Either way I end up more known. XOXO”). She pleaded guilty

to a violation of 18 U.S.C. § 1752(a)(1). Unlike the six-month maximum sentence for violations

of 40 U.S.C. § 5104 to which Loftus pleaded guilty, that statute carries a maximum prison sentence

of one year. Because Courtright’s criminal conduct on January 6 was substantially worse – she

entered the Senate chamber – than Loftus’s, the government sought a prison sentence of six months

for Courtright. Judge Cooper imposed a sentence of one month incarceration and one year of

supervised release. Crim. No. 21-cr-072 (CRC).




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         Jennifer Ryan was another Capitol Breach defendant who, like Loftus, expressed a desire

for favorable publicity from her unlawful conduct on January 6. As a self-described “influencer,”

Ryan broadcasted on social media, Youtube, and radio, garnering thousands of followers and

millions of views. Because her statements on social media on January 6 were more extensive and

inflammatory than those of Loftus, the government sought a sentence of sixty (60) days’

incarceration for Ryan and Judge Cooper imposed that sentence. 5 Crim. No. 21-cr-050 (CRC).

Because Ryan’s and Courtright’s overall criminal conduct was more egregious than Loftus’s, the

government is not recommending a multiple-month term of incarceration here.

         Several Capitol Breach defendants convicted of violating 40 U.S.C. § 5104 were current

or former members of the United States Armed Services. In part because of that service the

government sought sentences of home detention or incarceration in those cases. Nevertheless, the

courts-imposed sentences of probation on those defendants. 6 However, a sentence of thirty (30)


5
  For instance, when she arrived at the Capitol, Ryan posted on social media a recording of herself stating, “we’re all
gonna be up here, we’re gonna be breakin’ those windows, we’re gonna be havin’ to deal with the tear bombs” and
proclaiming, as she approached the East Rotunda door, “Life or death, it doesn’t matter, here we go.” While inside
the Capitol, Ryan joined shouts of “Fight for Trump” before chemical irritants caused her to retreat from the building.
After leaving the Capitol, Ryan recorded herself encouraging others to enter and shouted, “we’re pushing our way in,”
chanted “Hang Mike Pence,” and stated, “really, we could go in there” and “the military’s not gonna come.”
6
  For instance: Thomas Vinson served in the United States Air Force for four years. He entered the Capitol shortly
after it was breached and saw police officers being attacked in the Crypt and Rotunda. The government recommended
a sentence of three months’ home detention and three years’ probation. Judge Walton imposed a sentence of 60
months’ probation. Crim. No. 21-cr-355 (RBW).

Leonard Gruppo retired from the United States Army after as a Lieutenant Colonel after serving for thirty years, He
entered the Capitol at the Senate Wing door where he broke window glass was scattered on the ground and remained
in the Capitol even after a police officer advised him to depart. The government requested a sentence of 30 days’
incarceration. Chief Judge Howell imposed a sentence of 24 months’ probation. Crim. No. 21-cr-391 (BAH).

Jonathan Sanders was a United States Air Force veteran of 20 years. He entered the Capitol after seeing tear gas
dispersed into the crowd and a rioter attempting to break a window of the Capitol Building. He exhibited no remorse
for his conduct on January 6 when interviewed by the FBI. The government recommended a sentence of two months’
home detention and three years’ probation. Judge Nichols imposed a sentence of 36 months’ probation. Crim. No. 21-
cr-384 (CJN).

Brandon Nelson served six years as a member of the United States Air National Guard. He entered the Capitol Building
with his codefendant Abram Markofski less than five minutes after other rioters smashed the windows next to the

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days’ incarceration in this case would not create an “unwarranted disparity” with the sentences

imposed in those cases.

        In any event, the goal of minimizing unwarranted sentencing disparities in § 3553(a)(6) is

“only one of several factors that must be weighted and balanced,” and the degree of weight is

“firmly committed to the discretion of the sentencing judge.” United States v. Coppola, 671 F.3d

220, 254 (2d Cir. 2012). The § 3553(a) factors that this Court assesses are “open-ended,” with the

result that “different district courts may have distinct sentencing philosophies and may emphasize

and weigh the individual § 3553(a) factors differently; and every sentencing decision involves its

own set of facts and circumstances regarding the offense and the offender.” United States v.

Gardellini, 545 F.3d 1089, 1093 (D.C. Cir. 2008). “[D]ifferent district courts can and will sentence

differently—differently from the Sentencing Guidelines range, differently from the sentence an

appellate court might have imposed, and differently from how other district courts might have

sentenced that defendant.” Id. at 1095.

        Simply stated, the government (and this Court) should not ignore Loftus’ bombastic

rhetoric, if not hubris, during the pendency of this case. As discussed supra, Loftus flaunted the

severity of these crimes, and showcased his unwillingness or inability to take this process



Senate Wing Door. They remained inside the building for over an hour, an unusually long incursion compared to most
other rioters. After Nelson left, he shared text messages exulting in his unlawful conduct. The government requested
14 days’ incarceration. Judge Bates imposed a sentence of 24 months’ probation. Crim. No. 21-cr-344 (JDB).


Abram Markofski was a serving member of the Wisconsin National Guard when he unlawfully entered the Capitol
Building on January 6 along with his codefendant, Brandon Nelson. Like Nelson, he remained in the Capitol for an
hour and bragged in a text message that they had “stormed the Capitol and shut it down.” The government requested
14 days’ incarceration. Judge Bates imposed a sentence of 24 months’ probation. Crim. No. 21-cr-344 (JDB).


Thomas Gallagher had a 32-year career with the Department of Defense. He entered the Capitol and remained there
until he was arrested but did not engage in other aggravating conduct. The government recommended a sentence of
one month home confinement and 36 months’ probation. Judge Nichols imposed a sentence of 24 months’ probation.
Crim. No. 21-cr-41 (CJN).


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seriously. Rather, Loftus was fond of his newfound “fame”, and considered himself a “hero”, a

startling take on the events of January 6. This all suggests that while this Court should and must

be focused on rehabilitation, punishment is an appropriate goal at sentencing too.

   V.      Conclusion

        Sentencing requires the Court to carefully balance the § 3553(a) factors. As explained

herein, some of those factors support a sentence of incarceration and some support a more lenient

sentence. Balancing these factors, the government recommends that this Court sentence Kevin

Daniel Loftus to thirty (30) days’ incarceration, three (3) years’ probation, and sixty (60) hours of

community service. Such a sentence protects the community, promotes respect for the law, and

deters future crime by imposing restrictions on his liberty as a consequence of his behavior, while

recognizing his early acceptance of responsibility.



                                              Respectfully submitted,
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